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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------------------------------X
 In re:
                                                               Chapter 11
 MICH’S MACCS, LLC,                                            Case No. 21-11567 (DSJ)

                                      Debtor.
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                 ORDER (I) APPROVING BIDDING PROCEDURES, (II)
               APPROVING THE FORM AND MANNER OF NOTICE, AND
                (III) SCHEDULING AN AUCTION AND SALE HEARING


        Upon the motion (the “Motion”) of Mich’s Maccs, LLC, the above captioned debtor

and debtor-in-possession (the “Debtor”), by its attorneys, Kirby Aisner & Curley LLP, seeking

entry of an Order (i) establishing bidding procedures to govern the sale (the “Sale”) of

substantially all of the Debtor’s tangible and intangible property (the “Assets”), (ii) approving the

form and manner of notice of the Sale, (iii) scheduling an auction (the “Auction”), and (iv)

scheduling a hearing to approve the Sale (the “Sale Hearing”); and a hearing having been held to

consider the Motion on March 17, 2022, and upon due deliberation thereon, and for the reasons

states on the record in open Court this same day,

         IT IS HEREBY ORDER:

        1.       The Motion is granted to the extent set forth herein. All objections to the relief

requested in the Motion that have not been withdrawn, waived, or settled as announced to the

Court at the hearing on this Motion or by stipulation filed with the Court, are overruled.

[DSJ 3/18/2022]

        2.       The Debtor is authorized to conduct an Auction in accordance with the Bidding

Procedures annexed hereto as Exhibit “A” (the “Bidding Procedures”) which Bidding



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Procedures are hereby approved.

        3.      The sale of the Debtor’s Assets shall explicitly not include the Debtor’s customer

lists, to the extent one exists.

        4.      The Term Sheet with Chenies Investor LLC (which is annexed to the Motion as

Exhibit A) shall be amended to reflect that “All post-petition liabilities, debts and accounts

payable shall be assumed by Buyer. Except as set forth herein, Buyer is not agreement to, nor

assuming, any of the bankruptcy estate Debtor’s pre-petition liabilities.”

        5.      Auction Advisors, as Auctioneer to the Debtor, shall immediately (i) post notice

of the Auction on open as well as subscriber-based websites, (ii) create a custom webpage and

marketing materials, (iii) set up an online data room, (iv) launch a social media campaign,

including    FaceBook      &       LinkedIn   to   market   the   Auction,   (v)   schedule   physical

inspections/showing of the Assets, if requested, and (vi) implement a direct marketing campaign

by reaching out to its industry contacts, investors and others potential buyers still be to be

resourced

        6.      The deadline for becoming a Qualified Bidder, as defined in the Bidding

Procedures, shall be at the commencement of the Auction

        7.      The Auction will “open” on April 26, 2022 at 1:00 pm. (prevailing Eastern

Time) and be held in real time via an online auction over zoom. Instructions for participating in

the Auction will be transmitted via email from Auction Advisors to (i) Qualified Bidders, (ii)

Debtor’s counsel, (iii) the Office of the U.S. Trustee, and (iv) any interested parties in this Chapter

11 Case requesting permission to monitor the Auction (such parties shall not be permitted to bid

unless they have become a Qualified Bidder prior to the commencement of the Auction). The

Auction shall be recorded, with the recording to be made available to the Court, the Office of the



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U.S. Trustee, or any other party in interest that requests such recording in writing. Following the

closure of the Auction, Auction Advisors shall submit to the Debtor the Report of Sale for filing

with the Bankruptcy Court.

       8.      Chenies Investor LLC shall be deemed a Qualified Bidder and permitted to credit

bid at the Auction in the amount of $22,500.

       9.      The Debtor shall determine whether a submitted bid is a Qualified Bid. The

Debtor shall designate the Successful Bidder and Back-up Bidder at the conclusion of the Auction.

The deposits of all Qualified Bidders, other than the Successful Bidder and the Backup Bidder,

shall be returned to the respective Qualified Bidder no later than two (2) business days following

the conclusion of the Auction.

       10.     Counsel to the Debtor shall file with the Bankruptcy Court a Report of Auction no

later than April 28, 2022 at 10:00 a.m. (EST), which report shall indicate, inter alia, the bidders

in attendance at the Auction and, the identity of the Successful Bidder and amount of bid,

and the identity of the Back-up Bidder and amount of bid, if any, and include the Sale Agreement

with the Successful Bidder.

       11.     The Sale Hearing shall be held before the Honorable David S. Jones, United States

Bankruptcy Judge, Southern District of New York (Manhattan Division) on May 10, 2022 at

10:00 a.m. (prevailing Eastern Time) (the “Sale Hearing”). In light of the COVD-19 pandemic,

pursuant to SDNY General Order M-543, all hearings will be conducted telephonically pending

further order of this Court. This hearing shall take place virtually using ZOOM for Government.

Parties that wish to appear at the hearing are required to register their appearance utilizing the

Electronic Appearance Portal https://ecf.nysb.uscourts.gov/cgi-bin/nysbAppearances.pl located

on the Court’s website. Parties are advised to check the Court Calendar the day before for updated



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call-in times.

        12.      At the Sale Hearing the Court will consider the results of the Auction, the proposed

Sale, and any objections thereto, and may authorize the Sale and/or grant such other related relief

as may be deemed necessary or proper by the Court.

        13.      Objections, if any, to the Sale must be in writing, filed with the Bankruptcy Court

at the court’s website www.nysb.uscourts.gov (a password and login are required), with a copy

delivered directly to Chambers, and served upon Kirby Aisner & Curley LLP, 700 Post Road,

Suite 237, Scarsdale, New York 10583, Attn: Julie Cvek Curley, Esq., so as to be filed and served

no later than 5:00 p.m. on May 3, 2022 (the “Objection Deadline”).

        14.      The gross proceeds of the Sale shall be held in escrow by the Debtor’s counsel

pending further order of this Court.

        15.      Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 7062,

9014 or otherwise, the terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

        16.      To the extent that this Order is inconsistent with any prior order or pleading with

respect to the proposed sale transaction, the terms of this Order shall govern.

        17.      The Court shall retain jurisdiction over any matter or dispute arising from or

relating to the implementation of this Order.




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       18.     The Debtor shall serve this Order via first class mail and/or email, if possible, along

with the Bidding Procedures upon: (i) the Office of the U.S. Trustee; (ii) all taxing authorities;

(iii) all known creditors of the Debtor; (iv) all entities known or reasonably believed to have

asserted a lien, claim, interest, or encumbrance in the Assets, and (v) all parties that have requested

notice pursuant to Bankruptcy Rule 2002, within one (1) day after entry of this Order.



Dated: New York, New York
       March 18, 2022

                                           s/ David S. Jones
                                        HONORABLE DAVID S. JONES
                                        UNITED STATES BANKRUPTCY JUDGE




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                          EXHIBIT A
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                                                BIDDING PROCEDURES

         Set forth below are the bidding procedures (the “Bidding Procedures”) to be employed with respect to the sale by
Mich’s Maccs, LLC the Debtor-in Possession (the “Debtor”) in In re Mich’s Maccs, LLC, S.D.N.Y. Case # 21-11567 (dsj)
of the tangible and intangible property listed below (the “Assets”):

                                      Description
                                      Equipment & Baking Supplies
                                      (2) Selmi Plus Legend 3 Phase tempering machines
                                      1 Enrobing Line for Ghana
                                      1 Deighton Formatic Cookie Machine
                                      1 Deighton Retail Drum – custom
                                      150 used sheet pans
                                      1 M'old Art Chocolate warmer
                                      100 Silpats - silicone sheets
                                      Inventory
                                      Inventory Maccs (16,500 piences x .12)
                                      Ingredients/perishables
                                      Coconut
                                      Packing Supplies
                                      Mugs
                                      Intangibles
                                      Recipes
                                      Website https://michellesmaccs.com
                                      Social Media handles (FaceBook, Instagram)
                                      Goodwill

         Any transfer of the Debtor’s rights, title and interests in and to the Assets (“Sale”) shall be subject to approval by
the United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”) pursuant to Sections
363 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532, as amended (the “Bankruptcy Code”); and any Sale shall
be subject to such other closing conditions and other terms and conditions as are set forth in the Terms & Condition of Sale
(defined below).

                                        NOTICE AND SOLICITATION OF BIDS
        Within three (3) Business Days following the entry of the Bidding Procedures Order or as soon as reasonably
practicable thereafter, the Debtor shall provide notice of the proposed Sale, the Bidding Procedures, the time and place of
the Auction (as defined below), the time and place of the Sale Hearing (as defined below), and the objection deadline for
the Sale Hearing to potential bidders who may wish to participate in the Auction.

       Any person or entity (each, a “Bidder”) that desires to participate in the auction of the Assets (the “Auction”) must
be a Qualified Bidder (as defined below).

                                                    QUALIFIED BIDS
To be considered a Qualified Bidder (a “Qualified Bidder”), each a bidder must comply with all the following requirements:
        (a)     they must have executed the attached Terms & Conditions of Sale attached as Schedule 1 hereto (the “Terms
        & Conditions”) prior to the Auction; and
        (b)     having deposited into the escrow account of seller’s attorney a non-refundable deposit of no less than $5,000
        (refundable no later than two (2) business days following the conclusion of the Auction in the case the bidder is not
        determined to be the Successful Bidder or Back-up Bidder).




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                                                           AUCTION
         At the Auction, Auction Advisors (the “Auctioneer”), will conduct an auction (the “Auction”) of the Assets and the
Debtor shall select the highest or best bid for the Assets (the “Successful Bid”). The Auction shall take place via a zoom
meeting on April 26, 2022 at1:00 p.m. (prevailing Eastern time). Instructions for participating in the Auction will be
transmitted via email from Auction Advisors to (i) Qualified Bidders, (ii) Debtor’s counsel, (iii) the Office of the U.S.
Trustee, and (iv) any interested parties in this Chapter 11 Case requesting permission to monitor the Auction (such parties
shall not be permitted to bid unless they have become a Qualified Bidder prior to the commencement of the Auction). The
Auction shall be recorded, with the recording to be made available to the Court, the Office of the U.S. Trustee, or any other
party in interest that requests such recording in writing.

       The Debtor may conduct the Auction in any manner and upon any terms and conditions satisfactory to the Court
and consistent with these Bidding Procedures, that will achieve the maximum value for the Assets.

        At the conclusion of the Auction, the Seller shall submit the Successful Bid to the Court at the Sale Hearing (as
defined below), for entry of a Sale Approval Order. Any Bid that fails to comply with the Bidding Procedures or any other
procedures established at the Auction may be refused.

                                          SELECTION OF SUCCESSFUL BID
         Following the conclusion of the Auction on April 26, 2022 at 1:00 p.m. (prevailing Eastern Time), the Debtor will
(a) review and evaluate each bid, (b) identify the highest or otherwise best offer for the Assets received at the Auction (such
bid, the “Successful Bid” and the bidder making such bid, the “Successful Bidder”) and (c) identify the second highest or
otherwise best offer for the Assets received at the Auction (such bid, the “Back-Up Bid” and the bidder making such bid,
the “Back-Up Bidder”). The determination of the Successful Bid and Back-Up Bid by the Seller shall be final, subject to
approval by the Bankruptcy Court.

        The Seller will sell the Assets to the Successful Bidder pursuant to the terms of the successful bid upon the approval
of such Successful Bid by the Bankruptcy Court at the Sale Hearing.

         If, following the entry of the Sale Approval Order, the Successful Bidder fails to meet its obligations under the
Terms & Conditions or fails to consummate the Sale because of a breach or failure to perform on the part of the Successful
Bidder, the Debtor will submit an Order to the Bankruptcy Court approving the Back-Up Bid to be deemed the new
Successful Bidder and shall be given the opportunity to consummate the transaction. In such case, the deposit of the former
defaulting Successful Bidder shall be forfeited to the Seller and the Seller shall have the right to seek any and all other
remedies and damages from the defaulting Successful Bidder to the extent permissible under the applicable purchase
agreement and applicable law. Seller shall have the right, but not the obligation to compensate the Back-Up Bidder to leave
its “hard” deposit on deposit until such time as the Successful Bidder consummates the sale transaction.

                                                    SALE HEARING
        A hearing to approve the sale of the Assets to the Buyer or other Successful Bidder will be held on May 10, 2022
at 10:00 a.m. (prevailing Eastern Time) before the Honorable David S. Jones at the United States Bankruptcy Court for
the Southern District of New York (the “Sale Hearing”). In light of the COVD-19 pandemic, pursuant to SDNY General
Order M-543, all hearings will be conducted telephonically pending further order of this Court. This hearing shall take
place virtually using ZOOM for Government. Parties that wish to appear at the hearing are required to register their
appearance utilizing the Electronic Appearance Portal https://ecf.nysb.uscourts.gov/cgi-bin/nysbAppearances.pl located
on the Court’s website. Parties are advised to check the Court Calendar the day before for updated call-in times.

                 FREE OF ANY AND ALL LIENS, CLAIMS, INTERESTS, AND ENCUMBRANCES
         All of the rights, title, and interests of the Debtor in and to the Assets, or any portion thereof, to be acquired will
be sold, conveyed, transferred, and assigned free and clear of all Liens, Claims, Interests, and Encumbrances pursuant to
Sections 363 and 365 of the Bankruptcy Code, such Liens, Claims, Interests, and Encumbrances to attach to the net
proceeds of the sale of such Assets.



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